                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                NORTHERN DIVISION

CHRISTOPHER LITTARES, individually and on             )
behalf of all others similarly situated               )
                        Plaintiff,                    )
v.                                                    )       JUDGMENT
                                                      )       No. 2:23-CV-60-FL
TCOM, L.P.                                            )
                       Defendant                      )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge on
Plaintiff’s Unopposed Motion for Approval of Settlement and Dismissal.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
February 25, 2025, granting plaintiff’s unopposed motion for approval of settlement and dismisssal,
the court approves the parties’ settlement agreement and dismisses this action on the terms set forth
in the order.

This Judgment Filed and Entered on February 25, 2025, and Copies To:
Nicholas R. Conlon / Edmund Charles Celiesius / James Ray Harrell / Brian Kinsley (Via CM/ECF
Notice of Electronic Filing)
Charles Bacharach / Jerrod Thrope / L. Phillip Hornthal, III (via CM/ECF Notice of Electronic
Filing)

February 25, 2025                     PETER A. MOORE, JR. CLERK

                                        /s/ Sandra K. Collins
                                      (By) Sandra K. Collins, Deputy Clerk




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